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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors.1                       (Jointly Administered)

                                                             Re: D.I. 376

                      STIPULATION TO EXTEND OBJECTION DEADLINE

            The above-captioned debtors and debtors in possession (the “Debtors”), the Office of the

United States Trustee, and JPMorgan Chase Bank, N.A. (“JPM”), hereby stipulate that the

Debtors’ and JPM’s objection deadline to The United States Trustee’s Motion to Convert to

Chapter 7 or Dismiss Case [D.I. 376] is extended to May 19, 2025.

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      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
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